Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 1 of 12




                  EXHIBIT B
                                            Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 2 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               !       "   #




    $                                                                                                                           %       &           '       (   )               *               +           (           ,                   (       )                   +                           *               '               +                   (       -                           '                       .               (                               .           /           %       -                   (




    0                                                                                                               &               /   -           (       1   )           -       &                       *               '               +           (           -               '               .               (                                   /               2                                           .       ,                       3               '           2               /   -               &                       '               ,




    4                                                                                                                                                                                   +   ,           &                                   5           /               +       )                                   *               '           6                       '                   +                       '               /           &




        ,           8       8           3   )                   '       &               .           9           :                   ;               .       ;       <           =       >       ?           @               A               =           ;
    7




            .       ?       @       B           ?       @       ;           C           =       ?           A               :




                                                                                                                                                                                                                                                                                                                                                                                                                                                                            &                   ?               9                           E                   F           G                       .       6                   H       H       I       J   H   3   1   K   H   L       G   M       N
    D




                                                                                                                                                                                                8           <               ;               =           A               C           =               >               >                   :




    O   P           Q           9




            +   ,       S               +   %       &           T                   )           3       )               .           (   -           /   &           '           .       +                   .               /                   9           :                       3               (               *                   :
    R




            ;           K               ?       @       U       ;           A               V           W               Q           =       A       U       Q       Q                   U       A           C               =               C           X                   Y                       +           ,               S                       +       %                       &                           T




    Z   )           3   )               .       (   -           /       &               '       .           +                   ,       S       )       -           '           .   ,               :                       '           &               .                   9           :                           ;




        &           U   [                   \           ?       @           ]                   ^           ?           @       B           ?       @       ;       C           =       ?       A               Y                           +       ,               S               +           %               &                   T




    _       (   )           3       )           .       /   S           S           %       &               '           .       ,           (       '       /   &               +           ,           S               )               -               '               .       ,                           :                       3                   3               .                           :




            ;               *           U       <       ;   [               ;           @       U                       <           =   `           =       C       U           a               <           =               ;           V               =               <           =               C               X




$   b       ^       ?   `           B           ;       A       X               :                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H   L       G   M       N




$   $                                                                                                                                                                           *       U       >           U               A               a           ;               A           C               Q                   9




$   0   c       c       c           c       c       c       c           c           c       c           c           c           c       c       c       c       c           c       c       c           c               c               c           c               c           c               c               c               c               c               c                       c                       c                   d




$   4




$                                                                                       (   -           ,           &               +       .   -           '       8           (           S           ,               -               K           )                   *                           1               '               T                   1               3               \                                           .               /       &                   2               '           *       )               &                           (       '           ,               3
    7                                                   e       e                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               e       e




$                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H   L       G   M       N
    D




                                                                                    6           '           *       )               /       (   ,           8   )               *               *       )                   8               /           +               '           (               '               /           &                                       /                   2                                       *           -                       9                       5           '       S                                       S           '               3           3       )           -




$   O




                                                                                                                                                            8       ;           <       ?               ,                   <               C           ?                   :                       .               ;               <                   =               >                   ?                       @               A               =               ;




$
    R




                                                                                                                                                                S               ?       A       a           ;               X                   :                       5       W                   <               X                                   f                       :                                   F               H               E               J




$   Z




$   _




0   b                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   L       G   M       N




0   $




0   0




0   4   -           U   B               ?       @       C       U           a               g               X               G




0           3       '   &               *   ,               6           ,               .       .       ,           -           )           h       h   ,               :           -           8       -                       :                       .               3       -                           :                       .           -                       8                           :                               .               +       -                           9           &                   /                       9                       E               H           F           H               E
    7




0           5       /   g                   &           /           9                   I       J           F           E           H                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   L       G   M       N
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                        Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 3 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       !       "       i   j




    $   `           U       ;       A           =           A                   ;       A           X               [               ;       X               B           @       ?   P           =               a           =           A           k                       C       l               U                               =           `                       ;                   k               U               Q               9




    0                                   ,           9                                   '               B               @           ?   P               =       a       U       a               C           l               ;           C                       =           A           >           ?               @       `                       ;                   C                   =               ?               A                       C               ?                   ,                       B           B               <           U                   B                       ;           C           U       A   C




    4       ;       C       C       ?       @   A           U           X       Q                   >       ?           @                   C       l           U   `                   C       ?                       W               Q           U                       =           A                           C       l                       U                               B                       @               U   B                   ;               @       ;                   C                   =           ?           A                       ?               >                           C       l           U




        B           ;       C       U       A   C               9                       '                   a           ?           A           m       C               @       U       ^       ;               <           <                   [           l               U           @           U                               C           l                       U                   Q               U                   B                   ;               @       C                   =                   ^       W               <           ;           @                               >           =           k   W       @   U       Q
    7




            ^       ;   `           U           >           @           ?   `               9                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           E       H   G       J       F
    D




    O                                       n       9                               ,               Q       =           a           U                   >       @       ?   `               P                   =           U       [               =           A           k                       =               C                               ;                   C                                   ;                       a               U       B               ?                   Q                   =           C           =           ?           A                   :                   l               ;   P       U




            X       ?   W               l       ;           a                   ?       ^           ^       ;           Q           =       ?           A               C       ?               @               U           ;           a                       C       l               @           ?       W                       k           l                                           C           l                   =       Q                       B               ;                   C                   U           A           C                       X               ?           W               @           Q       U   <   >
    R




    Z       ;       A       X               C   =       `               U               =           A                   C       l           U               B           ;       Q       C       o




    _                                   ,           9                               \               U       Q               9




$   b                                       n       9                                   *           ?                   X           ?   W                       @       U       ^       ;       <               <                   [           l               U           A                       C       l                       ;               C                               [                       ;               Q       o                                                                                                                                                                                                                   E       H   G       J       J




$   $                                   ,           9                                   8           U       @       l               ;   B               Q               >       =   P           U                           C           ?                       Q           U       P               U               A                               X                   U                   ;               @               Q                       ;               k       ?                       9




$   0                                       n       9                               ,               A       a                       C   l               ;       C           [           ;       Q                           C       l               U                       <           ;           Q               C                               C                   =           `                       U                       X               ?       W                                   a                   =           a                       C       l                   ;               C           o




$   4                                   ,           9                               \               U       Q               9




$                                           n       9                                   *           =       a                       X       ?       W                   @       U   P           =               U       [                           ;           A           X                       a               ?               ^           W                   `                       U               A               C                       ;               Q       =                   a                   U                       >           @           ?       `                                   C       l           U
    7




$       B           ;       C       U       A   C                       =       C       Q           U       <           >                   C       l           ;       C               ^       ?               A           C           ;           =           A           U           a                           C       l                       U                                       C               U       p               C                               C   l                       ;                   C                   m   Q                       =               A                           C       l           =   Q               E       H   G       J       J
    D




$   O   B           ;       C       U       A   C           o




$                                                                                   S           -               9               6           '       &           .   )       &           (           G                                   /       V               q           U           ^           C               =               ?               A                       9                                       6               ;               k       W               U                       9
    R




$   Z   g       \               S       -           9                   8   -           '           .   )                   G




$   _                                       n       9                               ,               A       a                       '           m       <       <               k       =   P                   U                       X           ?       W                           ;           A                               U           p                       ;           `                   B                   <       U                   9                                       +                   ;           X                       ;           A




0   b       ;   B       B           <       =   ^           ;           C       =       ?           A                   >           ?       @                   C   l           U           B                   ;           C           U           A           C                       ;           Q                               ?           B                   B                       ?               Q               U       a                               C       ?                                       C       l               U                   B                   ;               C           U           A       C                   E       H   G       J       J




0   $       =       C       Q       U       <   >               9




0   0                                   ,           9                                   '                   a           ?           A           m       C           V           U       <       =               U       P               U                       Q           ?               9




0   4                                       n       9                                   +           =       C           C           =       A           k           l           U       @       U                           C           ?           a           ;           X               :                       a               ?                                   X                   ?           W                       l                   ;       P               U                                       ;           A           X                       ?       B                       =           A           =       ?   A




0           ?       A               C   l       U                   `           U       ;           A       =           A           k                   ?       >               ;       A       X                           ?           >                       C       l               U                           C               U               @               `                       Q                               =       A                               C   l                       U                               ^           <           ;           =       `                       Q                   [       l       =   ^   l
    7




0           ;   B       B           U       ;   @                       Q       C       ;           @       C           =           A       k                   .       ?       <   W       `                   A                       r               :                   Q           U           ^               ?               A               a                                       C               ?                       C           l                   U                           <                   ;           Q           C                   B                   ;               k           U                   ?   >               E       H   G       J       M
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                            Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 4 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !       "       i   s




    $       C   l           =           Q           B               ;       C       U       A       C       o




    0                                                                                   S       -               9               6           '   &           .   )       &               (           G                                       /       V           q               U           ^               C                   =               ?           A                       9                                               .       ;           <           <           Q                               >           ?           @                       ;                               <           U               k           ;   <




    4       ^       ?       A           ^       <   W               Q       =       ?       A               ;           A           a               U   p       B           U           @       C                               C           U           Q       C               =       `                   ?                   A               X                   9




                                                                                            (       1   )                       t           '       (   &       )           +           +           G                                   &               ?           9
    7




        g       \                   S       -               9               8   -           '       .   )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       E       H   G       J       M
    D




    O                                           n           9                               *       ?                   X           ?   W               l           ;   P               U                           ;           A           X                   ?           B               =               A                   =               ?           A                                       ;               Q                       C           ?                       C           l                   U                   `                   U       ;                   A           =           A               k               ?           >




            ;       A       X                   ?       >                   C   l           U               a           =           Q       ^       <       ?       Q   W               @       U                   Q                       =           A                       C       l                   U                           V                   ?                   a                   X                               ?       >                       C       l                       U                   B               ;               C       U                   A           C                       [           l       =           ^   l
    R




    Z       =       Q                   .       ?       <       W       `           A       Q               E                       C   l           @       ?   W           k       l                               r           o




    _                                                                                   S       -               9               6           '   &           .   )       &               (           G                                       +           ;   `                   U                           ?           V                       q           U                   ^                   C               =               ?       A           Q               9                                       .           ?       `           B               ?           W                   A           a                   9




$   b                                                                                       (       1   )                       t           '       (   &       )           +           +           G                                   &               ?           9                                                                                                                                                                                                                                                                                                                                                                                               E       H   G       J       M




$   $   g       \                   S       -               9               8   -           '       .   )                   G




$   0                                           n           9                               +       =       C           C           =       A       k           l           U           @       U                               C           ?           a       ;               X                           a                   ?                           X                   ?           W                               l               ;       P               U                               ;           A           X                           ]       A                   ?       [               <               U           a   k           U




$   4       ?       >                   C   l           U                   ^       ?       a       U                   =           A           ,       B       B           <           U               m           Q                       =           8   l                   ?           A               U                                   ?           @                                       =               8               ;       a               B                   @                   ?           a       W               ^               C       Q                   o




$                                           ,               9                           &           ?           9
    7




$                                               n           9                               +       =       C           C           =       A       k           l           U           @       U                               C           ?           a       ;               X               :                               a               ?                               X                   ?           W                       l               ;   P                   U                               ;           A           X                       ]                   A           ?       [                   <           U   a           k       U   E       H   G       J       N
    D




$   O       ?       >                   C   l           U                   ^       ?       a       U                   =           A           ,           A       a       @           ?       =                   a                   B               @       ?               a       W                   ^                   C               Q           o




$                                           ,               9                           &           ?           9
    R




$   Z                                           n           9                               *       ?                   X           ?   W                   @       U       ^           ;       <                   <                   [           l           ;               C                       B                       @               ?           k                   @                   ;           `           `               =           A           k                               <           ;           A           k       W               ;                   k           U           Q                           X   ?       W




$   _   W           Q       U           a               a       W           @       =       A       k                   X           ?   W           @           [           ?           @       ]                               ;           C               ,               B           B                   <                   U               o




0   b                                       ,               9                               '           [               ?           @       ]       U       a               ^           ?       a                   U                       =           A                   ,           B               B                       <               U           +                   ^                   @               =       B               C                       ;           A                   a                       +       W           B               U                   @           .           ;               @           a       9                   E       H   G       J       N




0   $       '           `               ;       X               l           ;   P           U           [               @           =       C       C       U       A                   3       '                   +           8                       ^       ?               a           U                   9                                           '                               V                       U               <       =           U   P                   U                               C       l               ;               C           m               Q                       ;               <           <       9




0   0                                           n           9                           t       l           ;           C                   ]       =       A       a                   ?       >                               <           ;           A       k           W               ;               k                   U                           =                   Q                               ,           B           B               <           U           +                   ^           @           =       B                   C       o




0   4                                       ,               9                               '       C               m   Q               [       l           ;       C           m       Q                           ^           ;           <           <       U               a                           ;                                   Q           ^                   @                   =           B                   C       =           A           k                               <           ;           A           k       W               ;                   k           U               9




0           '       C           m       Q               ;                   @       U       <       ;       C           =       P           U       <       X               Q           =   `                   B               <           U                   <               ;           A               k           W                       ;           k                   U                                   ?               >       C           U           A                       W                   Q           U           a                       C                   ?
    7




0           ^       ?       A           C       @       ?           <               ?       C   l           U           @               ,       B       B           <       U                   ;               B           B               <           =       ^               ;           C               =                   ?               A           Q                       9                                                                                                                                                                                                                                                                               E       H   G       J       I
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                        Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 5 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           !       "       u   v




    $       ?       A               =       C       o




    0                                                                               S       -               9               6           '   &           .   )       &           (           G                                   +           ;           `               U                       ?       V                       q               U                   ^                   C               =               ?           A       Q               9




    4                                                                                   (       1   )                       t           '       (   &       )           +       +           G                                   '                       V               U           <           =               U       P                       U                               [                       U                           Q       C           ;       @                   C                   U       a                       [                   ?           @               ]           =           A       k       =       A




            C   l           ;       C               k           U       A       U       @       ;       <                       ;       @       U       ;               Q       ?   `                   U       [           l               U               @           U                       =               A                               C               l                       U                       `                   =       a           a       <                   U                           ?               >                           E           L               L           M               9
    7




        g       \               S       -               9               8   -           '       .   )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   E       H   G       N       N
    D




    O                                       n           9                           t       l           U           A                   X       ?   W                   Q       ;       X                           w           C       l                   ;           C                       k               U               A               U                   @                   ;               <                           ;       @           U       ;                       :               w                   [           l                   ;           C                           ;           @       U




            X       ?   W                   @       U           >       U       @       @       =       A           k                   C       ?       o
    R




    Z                                   ,               9                               3       ?       ?           ]           =       A       k               ;       C           W                   Q           U           @                           a           ?           ^       W           `                       U               A                   C                   Q                               ;           A       a                   >                   =                   A       a               =               A           k                       [               ;           X       Q       C       ?




    _   l           U       <   B               B               U       ?   B           <       U                   a           ?               C   l           U       =       @                   [               ?           @           ]                       [               =           C       l                                       C               l                       ?               Q               U                   a           ?       ^           W                       `           U               A               C           Q               9




$   b                                       n           9                           ,           C                   C       l           U               C       =   `           U                       =           A                       C           l               U                   `                   =               a               a                   <                   U                               ?           >                   E       L                   L                   M           :                           a           ?                           X           ?       W                               E       H   G       N       N




$   $       @       U       ^       ;       <       <               [       l           U       C   l               U           @               X       ?   W                   @       U               >           U           @           U               A           ^           U           a                               ;               A                   X                               V                   ?           ?       ]           Q                           =                   A                       X               ?       W               @                       [               ?       @   ]




$   0       =       A   P           ?       <   P               =       A       k               <       ?           ?           ]       =       A       k               ;       C                       a           ?           ^       W               `               U           A           C               Q                               ;                   A                   a                               >           =       A           a       =                   A                   k                   [                   ;           X           Q                           C           ?




$   4   l           U       <   B               B               U       ?   B           <       U               [               ?       @       ]           [           =       C   l                               C       l               ?               Q           U                       a               ?               ^           W                   `                       U               A               C           Q       o




$                                                                                   S       -               9               6           '   &           .   )       &           (           G                                   /       V                   q           U           ^           C               =               ?               A                       9                                       6                   ;       k   W               U                       9
    7




$                                                                                       (       1   )                       t           '       (   &       )           +       +           G                                   '                   m   `                           A           ?               C                               ^                   U                   @               C               ;           =       A               9                                                                                                                                                                               E       H   G       N       I
    D




$   O   g       \               S       -               9               8   -           '       .   )                   G




$                                           n           9                           t           U       @           U                   X       ?   W                   Q   W       V                   Q           ^           @           =           V               U           a                           C               ?                                   ;                   A               X                       B           U           @       =                   ?                   a       =               ^               ;           <           Q               o
    R




$   Z                                   ,               9                           \           U       Q               9




$   _                                       n           9                           t       l           =           ^       l                   ?       A       U       Q               a               ?                       X           ?           W                           @           U               ^               ;               <                   <                   o




0   b                                   ,               9                           ,           .   S                   :               .       ?   `       `       W           A       =               ^           ;           C           =               ?           A           Q                           ?               >                               ,                       .           S                       :               +           '       T                   .                   1       '                       g               W               <               <           U           C       =   A       9       E       H   G       N       I




0   $   &           ?       C               ^       U           @       C       ;       =       A                   =           >               C   l           U       @       U                   [               U           @           U                           ?           C       l                   U               @               Q                       9




0   0                                       n           9                               *       ?                   X           ?   W                   @       U       ^       ;       <               <                       =           >                           =           A                           C       l                       U                               B                       U               @           =       ?           a                           ?                   >                   `                   =           a           a               <           U                   ?   >




0   4       E       L       L       M               X           ?   W               l           ;       a                       ;       A       X               @       U       >       U               @           U           A           ^               U                   V               ?               ?               ]               Q                                       ;               C                           X       ?   W               @                                   [           ?               @               ]           Q           C               ;           C           =       ?   A




0           ;   P           ;       =       <       ;       V           <       U       o
    7




0                                       ,               9                               '           V               U           <       =       U   P           U               '                       a           =           a               9                                                                                                                                                                                                                                                                                                                                                                                           E       H   G       N       r
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           
                                            Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 6 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           !       "           #   #   x




    $   B           @       ?       ^           U       U           a       =       A       k       Q           9




    0                                           n           9                           ,           @       U                       C       l               U           Q       U               B           @               ?               ^           U               U       a           =           A       k               Q                               C               l                       ;               C                       X           ?   W                                       ;               C           C           U           A           a               U           a       o




    4                                       ,               9                               '           V               U           <           =           U       P           U                   Q       ?                   9




                                                n           9                               *       ?                   X           ?       W                           @       U           ^       ;       <               <                       B                   @       U           Q           U       A               C               =               A                   k                                   ;                   B               ;   B                   U                   @                           ;           C                       C       l                   =       Q
    7




            ^       ?       A       >           U       @           U       A       ^       U       o                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               H   F       G       J   M
    D




    O                                       ,               9                               '               a           ?           A               m       C                   @           U       ^       ;               <               <               9




                                                n           9                               '       >                   X           ?       W                       [           =           <       <                       C           W               @               A                   C           ?                       C       l                       U                               B                       ;               k       U                       U           A                   a               =           A           k                       J               H           I           9
    R




    Z                                                                                       *       ?                   X           ?       W                           Q       U           U               X               ?           W               @                       A           ;       `           U                               ;           B                   B                       U               ;               @       Q                       =           A                                   C       l               U                       C               ?       B




    _       ^       U       A       C           U       @           o




$   b                                       ,               9                           \           U       Q               9                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   F       G       J   N




$   $                                           n           9                               '       C                   ;       B           B               U           ;       @           Q           W                   A               a           U               @                   w           8       ;       B                       U               @                   Q                                   +       W           V               ^           ?       `               `                       =           C           C           U           U




$   0       .   l           ;       =           @       Q           w       o




$   4                                       ,               9                               '           V               U           <           =           U       P           U                   Q       ?                   9




$                                               n           9                           t       l           ;           C                       a           ?           U       Q                   =       C                           `               U               ;       A                       >       ?               @                               X                   ?           W                                       C       ?               V                   U                                   ;                   `               U       `           V                   U       @                   ?   >
    7




$           C   l           U                   8       ;       B           U       @       Q               +       W           V               ^           ?       `       `               =       C       C               U               U                           .   l               ;           =       @               Q               o                                                                                                                                                                                                                                                                                                   H   F       G       J   N
    D




$   O                                                                                   S       -               9               6               '       &               .   )           &           (           G                                       /           V           q           U           ^       C               =               ?               A                       9                                       6               ;           k   W                   U                       9




$                                                                                           (       1   )                       t               '           (       &       )               +       +           G                                       '                   [               ;           Q                       =               A           P                       ?                   <           P                   U       a                       =           A                                   @           U       P               =           U       [                   =       A           k
    R




$   Z       Q       ?   `           U                   Q       W       V           Q       U       C                   ?           >                       C       l           U               B           ;           B                   U           @               Q               B               @       U               Q               U               A                   C                   U               a                       ;           C                       C           l                       U                       ^           ?           A               >           U       @           U       A   ^   U   :




$   _   V       W           C               V           U           X       ?       A       a               C       l               ;           C                       '           m   `                   A               ?               C                           A       ?       [                       Q       W                       @               U                       9




0   b   g       \               S           -               9               8   -           '       .   )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   F       G       J   I




0   $                                           n           9                               '       >                   X           ?       W                       [           =           <       <                       C           W               @               A               V               ;       ^               ]                               C                   ?                                   C       l               U               B                   ;                   k               U                       U           A           a               =           A       k




0   0       F       L       L           9




0   4                                       ,               9                               /       ]       ;           X               9




0                                               n           9                               2       =   P               U                       <           =           Q       C           =       A       k               Q                           >               @       ?       `                       C       l                       U                               V                       ?               C               C       ?       `                   :                           ;               ^           @           ?           Q           Q                           >       @           ?   `
    7




0           8       ;       k       U               &           W       `       V           U       @                   E           E           L               :               a           ?               X               ?           W                               Q       U           U                   ;                       B                       ;               B                       U               @                       U           A           C           =                   C               <           U           a                       w       %                   Q       U           @                           H   F       G       J   I
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                    Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 7 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       !       "           #   #   v




    $       '       A       C   U       @       >           ;   ^       U               6               ;       <       W           ;       C       =       ?       A               =               A                       C           l           U                           -               U               ;                   <                               t                   ?                   @               <       a           w           o




    0                               ,               9                           \           U           Q           9




    4                                   n           9                               '       Q                   C       l           ;       C               ;           B           ;           B               U           @                       X               ?           W                               ;           W                       C               l                   ?                   @               U       a           o




                                    ,               9                               .       ?           y       ;       W           C   l           ?       @       U       a           :                       X           U               Q           9
    7




                                        n           9                               +       ?               [               ;       Q               C   l           =       Q                       ;                   B                   ;   B                   U               @                           X                   ?           W                               B                           @               U       Q           U           A       C                   U           a                           ;               C                               C       l               U                                                       H   F       G       J   I
    D




    O       ^       ?       A   >       U       @           U   A       ^           U       o




                                    ,               9                               '           m   `                       A       ?       C               Q   W           @       U                       [           l                   ?                       ;               ^           C       W                           ;               <                   <               X                           B               @           U           Q       U                   A           C               U           a                               =               C               9
    R




    Z       (       X   B       =       ^       ;           <   <       X                   C       l           U                   >       =       @       Q       C               ;           W               C       l                   ?       @                               ?           >                                   C           l                       U                               B                   ;   B               U           @                           =           Q                           @               U               Q       B                   ?           A               Q       =   V           <       U




    _       >       ?       @           C   l               U       B               @       U           Q       U           A       C       ;       C       =       ?       A           :                   [           l                   =       ^           l                           [                   ?           W                       <                   a                               V                   U               -               ?   V                       =           A                           5               U               >               >           @           =               U       Q           9




$   b       '           [       ;       Q               P       U       @           X                   <       =           ]       U       <       X               ;       C                       C       l               ;               C                       Q               U           Q               Q                   =               ?                   A                   9                                                                                                                                                                                                                                                                   H   F       G       J   r




$   $                                   n           9                               *       ?                   X           ?   W                   @       U       ^       ;       <               <                   [               l           ;               C                           C       l                           ;               C                           B                           ;       B               U           @               [                       ;           Q                           ;       V                       ?       W                   C




$   0       k       U       A   U       @       ;           <   <       X           o




$   4                               ,               9                           t           U               [               U       @       U               <       ?       ?       ]               =           A           k                       ;               C                       [                   ;                   X               Q                                   ?                   @                       C           U           ^   l                       A           =               z       W                   U               Q                           >           ?               @




$           U   P           ;   <   W           ;           C   =       A           k               W           Q           U       @               =       A       C       U       @               >           ;           ^               U       Q                       :                   a               =                   >               >                   U               @                   U               A       C               [               ;                   X           Q                           ?               >                               a           ?           =               A       k
    7




$           C   l           ;   C               U       P       ;       <       W           ;           C       =           ?       A           B           @       ?       ^       U               Q           Q               :                   ;               A               a                   [                           U                               l                   ;                   a                   V               U           U       A                               ;           V               <               U                               C           ?                                                                   H   F       G       J   r
    D




$   O       ^       ?       <   <       U       ^           C           Q           ?   `               U                   a       ;       C       ;               ;   V           ?           W               C                           a       =               >               >           U               @                   U               A                   C                                   ]               =       A           a                   ?                   >                           C           U               ^           l                   A           =           z           W           U       Q           9




$       ,           A       a           C   l               U       B               ?       =           A       C                   ?       >               C   l           U                   B               ;       B                   U       @                           [               ;               Q                                   C                   ?                                   ^               ?   `           B               ;       @                   U                           C       l                   ?               Q               U                       ;               A       a
    R




$   Z       Q       ;       X           Q       ?       `       U       C       l           =           A       k                   ;   V           ?   W           C           [               l               ;           C                       C           l                   U                           a                   =               >                   >               U                   @               U       A           C                   C                   U           ^           l               A               =               z       W                   U           Q                   [           U       @       U




$   _       k       ?       ?   a               ;           C           ?           @                   A       ?           C               Q       ?               k       ?       ?               a                       ;               C           9




0   b                                   n           9                               '       >                   X           ?   W               [           =       <       <                       C       W               @               A                       C               ?                           C           l                       U                           B                           ;               k       U                       U       A                   a           =               A           k                               r               J           F               9                                                   H   F       G       J   f




0   $                                                                               (   l               =       Q               B           ?       @       C       =       ?       A                           ?           >                   )               p               l               =       V                           =               C                                   E                   r                       U           A           C       =                   C           <               U           a                   :




0   0       w       *       ?   ^   W       `               U   A       C           Q               ,           Q               %           Q       U       @               '       A               C           U           @               >       ;               ^               U           Q                   :               w                               V                   X                           )               @           =           ^                   ,                       9                   g                   =               U               @                       ;               A       a




0   4   K           U       A           8       =           U   @           9                                   *           ?               X       ?   W                   @       U               ^           ?           k               A       =               {               U                           C           l                       =                   Q                                   a               ?       ^       W       `               U                   A           C               o




0                                   ,               9                               '               l           ;       P           U               Q       ?   `           U                   `               U       `                   ?       @               X                           ?               >                                   =                   C                               V           W               C                       A       ?                   C                           =           A                               a               U           C           ;               =       <           9
    7




0                                       n           9                           t       l               ;       C                   a       ?               X       ?   W                           @           U           ^               ;       <               <                           ;       V                           ?           W                       C                                   =               C       o                                                                                                                                                                                                                           H   F       G       J   f
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   
                                            Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 8 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               !       "           #   #   |




    $                                       ,               9                           5   W           Q           C                   C   l               ;       C                   =           C                               U       p               =               Q               C           U       a               9




    0                                           n           9                           '       Q                   C       l           =       Q                   ;                   a           U               Q               ^           @           =           B                   C           =       ?           A                               ?               >                                   ;                   P               =           a           U               ?                               C       l               ;       C                           [               ;           Q




    4       Q   l           ?       [           A               ;       C               C   l           U                       ^       ?       A           >       U       @           U           A               ^               U           o




                                                                                    S       -               9               6           '   &               .   )       &               (               G                                       /       V                   q               U           ^       C           =               ?               A                   9                                               2       ?       W               A           a               ;                   C           =           ?           A           9                                       .           ;   <           <   Q
    7




            >       ?       @                   Q   B           U       ^   W           <       ;       C           =           ?       A           9                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   H   F       G       J   f
    D




    O                                                                                   (       1   )                       t           '       (       &       )           +           +               G                                       '                   m   `                               A       ?           C                               ^               U               @                   C               ;       =           A               9




        g       \                   S       -               9           8   -           '       .   )                   G
    R




    Z                                           n           9                           (   W           @           A           =       A       k               V           ;           ^           ]                               C           ?                           8               ;           k       U                           J               H               F                   9




    _                                       ,               9                           '               ;       `                       C   l               U       @       U               9




$   b                                           n           9                           *       ?                   X           ?   W                       Q       U       U                       C           l                   ;           C                       W                   A           a       U           @                           P                   =               a                   U               ?       Q                       C       l                   U                               >           =           @       Q                   C                       U           A   C           @   X               H   F       G       J   L




$   $       =       Q           :               *       ?       ^   W       `           U       A       C           Q               ,           Q               %           Q           U           @                               '           A           C               U               @           >       ;           ^               U               Q                   :                               ?               A                   8           ;           k               U                               M           M           J       o




$   0                                       ,               9                       ,           <       <                       @       =       k       l           C           9




$   4                                           n           9                           *       ?       U           Q                   C   l               ;       C               `               U               ;               A                       C           l                   ;           C                   ?               A                               8               ;                   k               U                   M           M           J                   :                       [           l               =       ^           l                           [               U




$       l           ;   P               U           B           @       U   P           =       ?   W               Q           <       X                   <       ?       ?           ]           U               a                           ;           C                   :                   g           ;           C               U               Q                               A               W           `           V               U           @                           U                   A           a           =           A       k                               r           J           F       :           =   Q
    7




$           ;               a           U       Q       ^       @       =   B           C       =       ?           A                   ?       >                   ;               P               =               a               U           ?           o                                                                                                                                                                                                                                                                                                                                                                                           H   F       G       J   L
    D




$   O                                                                               S       -               9               6           '   &               .   )       &               (               G                                       /       V                   q               U           ^       C           =               ?               A                   9                                               2       ?       W               A           a               ;                   C           =           ?           A           9                                   6               ;   k       W       U       :




$           ^       ;       <           <       Q               >       ?       @               Q   B               U           ^   W           <           ;       C       =           ?           A                   9
    R




$   Z                                                                                   (       1   )                       t           '       (       &       )           +           +               G                                   )           P                   =               a           U       A           C               <               X                               =                   C                       =           Q               9




$   _   g       \                   S       -               9           8   -           '       .   )                   G




0   b                                           n           9                       ,           Q                   ;               B           ;       B           U       @                       Q           W               V               ^           ?           `               `               =       C           C               U               U                               ^               l                   ;       =           @                   [                   ?               W               <           a                   X                   ?       W                       l       ;       P       U               H   F       G       J   L




0   $       @       U       ^           U       =   P           U       a               ;               ^           ?       B           X                   ?       >                   C       l                   =               Q                   V                   ?               ?           ]       o




0   0                                       ,               9                       \           U       Q               9




0   4                                           n           9                       t           ?   W               <           a               X           ?   W                       @           U               ^               U           =       P                   U                           ;                   ^               ?           B                   X                                   ?               >                   C   l                   U                               P               =           a           U       ?                   Q                       C       l       ;           C




0       [           U       @           U           B           @       U       Q       U       A       C                       ;       C                   C   l           U                       ^               ?               A           >           U               @               U           A       ^           U               o
    7




0                                           ,               9                       &           ?       C                       A       U       ^           U       Q       Q           ;           @               =               <           X               9                                                                                                                                                                                                                                                                                                                                                                                       H   F       G       M   H
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               
                                    Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 9 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           !       "           #   #   }




    $                                   n       9                                   *           ?                   X           ?       W                           @           U       ^       ;       <               <                   =               >                       X           ?       W                                           a           =                   a                   o




    0                               ,           9                                   '                   a           ?           A               m       C                       @       U       ^       ;               <           <           9




    4                                   n       9                                   *           ?                   X           ?       W                           ]           A       ?   [                       [           l           ?                       )               @           =           ^                               g                   =                   U                   @                               =       Q           o




                                    ,           9                                   /           C   l               U           @                       C       l               ;       A               ;               Q                   ;                           @           U           Q           U                       ;               @           ^               l                       U               @                   [           l                   ?                   l                       ;           a                   V                       U                   U       A                       ;       C
    7




            8       ;   @       ]           ;           C                   ?       A           U                   C           =       `               U               :               A       ?       C                           @       U               ;           <           <           X               9                                                                                                                                                                                                                                                                                                                                                   H   F       G       M   H
    D




    O                                   n       9                                   *           ?                   X           ?       W                           @           U       ^       ;       <               <                   =               >                       X           ?       W                                           ;           C                   C                   U               A               a       U           a                       C           l                       =           Q                   P                       =                   a       U           ?




        B           @   U       Q       U   A           C       ;           C       =           ?       A                       U           A           C           =           C       <       U       a                           w       *               ?           ^       W           `               U                       A               C           Q                               ,                       Q                   %               Q               U       @                                   '           A           C               U               @                   >       ;           ^           U       Q       w   o
    R




    Z                                                                           S           -               9               6               '       &               .       )       &           (           G                               /           V               q           U           ^           C                       =               ?           A                       9                                               2       ?       W                   A       a                   ;               C           =           ?               A                   9




    _                                                                               (           1   )                       t               '           (       &           )           +       +           G                               '                           a           ?           A                       m           C                           @                   U                   ^               ;               <       <               9




$   b   g       \           S       -           9               8       -           '           .   )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H   F       G       M   H




$   $                                   n       9                                   '           >                   X           ?       W                       [               =       <       <                       C       W           @               A                       C           ?                           B                       ;           k                   U                                   U               A       a           =               A       k                                   r           J           J                   9




$   0                               ,           9                               %           l           y       l           W           l                   9




$   4                                   n       9                               %               A       a           U           @                       C       l               U               C       =               C           <       U                   :                   w           +           ^                       U               A           U                                       I                   G                           &                   ;   P                       =               k           ;           C               =               A                   k




$       g       W       C       C       ?   A           Q               [           =           C   l                       )               a           =           C           ?       @       Q           :           w                   =               A                       C       l               U                                       Q           U                   ^                   ?               A               a               B                   ;       @                   ;               k           @           ;       B                   l                               a           ?       [           A
    7




$           >       @   ?   `               C       l           ;           C           :               @           U           ;           a           Q               :               w       (       U               ^       l           A               =           ^           ;           <                                   Q               U           ;                   @                   ^           l                           ^           ?       `           V                       =               A           U           a                           [                       =       C       l                                               H   F       G       M   E
    D




$   O       U       a   =       C       =   A           k               `           ;           ^       @           ?                       ?       B               U           @       ;       C       =               ?           A       Q                           ^           ;           A                           V                       U                           W                       Q               U               a                   C               ?                   `                       ;           ]           U                           `                       ;       A           X




$       V       W       C       C       ?   A           Q                   ;       C                   ?           A           ^           U               9                           T       =   P                   U           A                       ;           A                       U       p                           =               Q           C                   =                   A               k                       >           =               <       U                                   C       l               ;               C                                   ^       ?           A           C       ;       =   A   Q
    R




$   Z   B       l       ?       A       U               A   W           `       V               U       @           Q               :                   @           U           Q       U       ;       @               ^       l                           >           ?           @                       ;                       <               <                               C           l                       U                   B           l                   ?       A                   U                           A       W           `                   V                       U       @           Q                   ;       A   a




$   _       C   W       @       A           C       l           U       `                       =       A           C           ?                   V           W               C       C       ?       A               Q                   C           l               ;           C                       a                       =               ;           <                                       C           l                   U               B           l               ?                   A               U                       A       W                   `               V               U           @               [       l       U   A




0   b   B           @   U       Q       Q   U           a           9       w                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   F       G       M   E




0   $                                                                               *           =       a                       '                       @           U           ;       a               C           l               ;       C                           ^           ?           @           @                       U               ^           C                   <                   X               o




0   0                               ,           9                               \               U       Q               9




0   4                                   n       9                                   *           ?                   X           ?       W                           @           U       ^       ;       <               <                   U           P               U           @                       @                       U               ;           a                   =                   A               k                       C       l                   ;       C                               V               U           >               ?               @                   U       o




0                                   ,           9                               &               ?           9
    7




0                                       n       9                                   *           ?       U           Q                       C       l               ;           C               a       U               Q           ^       @               =       V               U                   ,                   B               B                   <                   U                                   *               ;       C           ;                       *                   U               C           U           ^               C               ?                   @       Q           o                                           H   F       G       M   E
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               
                                            Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 10 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !       "           #   u   ~




    $       C       U       Q           C       =   `               ?       A       X           9




    0                                                                                       (           1       )                       t           '       (       &               )           +       +           G                                   '                       a               ?           A                       m           C                               l                       ;           P                       U                           ;                   Q           U                       A               Q           U                   ?           >                       [           l               ;   C




    4       C   l           U                   =       A       P           U       A       C           =           ?           A                   =       Q                       l           U       @       U                           =           A                       ;                           <           U                       k               ;                   <                                       Q               U               A           Q           U           9




        g       \                   S       -               9               8   -           '           .       )                   G
    7




                                                n           9                           ,               A           a                       X       ?   W                               ^       ;       A               m       C                       C               U       <               <                   `                           U                               [                   l                       ;               C                           y           y               [                   l                       U           A                   X           ?       W                               >           =   @   Q   C               H   J       G       H   f
    D




    O       ^       ?       A           ^       U       =       P           U       a                   ?           >                       C   l           U                           =       A   P           U               A           C           =               ?       A                           C       l                           ;               C                                       =                   Q                               U       `           V           ?           a                       =               U           a                   =           A                           C       l               U       I   M   r




        B           ;       C           U       A       C               :           ^       ?           @           @           U           ^       C       o
    R




    Z                                                                                   S           -                   9               6           '   &               .           )       &           (           G                                   /           V           q               U           ^           C                       =               ?                   A                       9                                       S                   =           Q       Q           C                       ;               C           U       Q




    _       C       U       Q           C       =   `               ?       A       X           9




$   b                                                                                       (           1       )                       t           '       (       &               )           +       +           G                                   '                       a               ?           A                       m           C                                   ]                   A                   ?           [                           [           l           ;           C                                       C       l           U                       =               A       P               U           A   C   =   ?   A           H   J       G       H   f




$   $       =       Q           9




$   0   g       \                   S       -               9               8   -           '           .       )                   G




$   4                                           n           9                               +           ?                       C       l           ;       C                   m       Q               ;                       X           U           Q                   :                   Q           =           A                       ^               U                                       X                   ?           W                               a           ?       A                   m               C                           ]       A           ?       [                           [           l               ;   C




$           C   l           U                   =       A       P           U       A       C           =           ?           A                   =       Q               :                   X       ?   W                               a           ?               A               m       C                       ]                       A               ?               [                                   [                   l                   U           A                   X           ?               W                                   >       =           @           Q               C
    7




$           ^       ?       A           ^       U       =       P           U       a                   ?           >                       =       C           :                       @       =       k   l                   C           o                                                                                                                                                                                                                                                                                                                                                                                                                               H   J       G       H   f
    D




$   O                                                                                   S           -                   9               6           '   &               .           )       &           (           G                                   /           V           q               U           ^           C                       =               ?                   A                       9                                       ,                   Q           ]       U           a                                       ;           A       a                       ;               A           Q       [               U   @   U   a       :




$           ^       ;       <           <       Q                   >       ?       @                   ;                       <           U       k       ;           <                       ^       ?       A               ^           <       W                   Q       =               ?           A               9
    R




$   Z                                                                                       (           1       )                       t           '       (       &               )           +       +           G                                   '                       a               ?           A                       m           C                                   ]                   A                   ?           [                           [           l           ;           C                                       C       l           U                       =               A       P               U           A   C   =   ?   A




$   _       =       Q                   Q       ?                   '               ^       ;           A                   m   C                   Q       ;           X                       ;       A       X               C       l               =               A       k                           ;       V                           ?       W                           C                                       =               C                   9




0   b   g       \                   S       -               9               8   -           '           .       )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   J       G       H   f




0   $                                           n           9                               5       W               Q           C                   C       ?                       V           U               ^               <           U           ;               @           :                       X           ?               W                               m       P                       U                               V                   U           U           A               l                           =               @           U       a                       ;               Q                       ;




0   0       ^       ?       A           Q   W           <           C       ;       A       C                       @           U           <       ;       C           =               A       k               C               ?                       C           l           U                           I           M                       r                               B                       ;                   C               U               A           C                   ;       V                           ?           W               C                   >           =       P                   U                       ?   @




0   4       Q       =   p                       C       =       `           U       Q           :                   @           =           k   l           C           o




0                                           ,               9                               '               m   P               U               V           U           U               A           l           =               @           U           a                       ;               Q                       ;                                       ^                   ?                   A                   Q           W                   <           C           ;       A           C                                       >           ?       @                       ?       W                   @                   [       ?   @   ]
    7




0           ?       A               ,       B       B               <       U               *           ;           C           ;                   *       U           C               U       ^       C       ?               @           Q               9                                                                                                                                                                                                                                                                                                                                                                                                               H   J       G       H   L
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           
                                        Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 11 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   !       "           #   u   #




    $                                       n           9                               2           ?           @                       <           =       C       =               k           ;       C       =               ?           A                       @       U           <           ;           C                   U               a                                       C                   ?                               C       l               U                       I                       M                   r                       B                   ;           C               U           A           C               o




    0                                   ,               9                           \               U           Q               9




    4                                       n           9                           ,               A           a                       X           ?   W                   m   P               U               C               U           Q           C           =       >           =           U           a                                   ;               V                       ?           W                       C                           X           ?       W               @                                       [               ?               @               ]                           >           ?           @




        ,       B       B           <       U               *           ;       C       ;                       *           U           C           U       ^       C               ?           @       Q                       ;           Q                       =       C                       @           U                   <               ;                   C                   U                   Q                               C           ?                           C   l                           U                               I               M               r                   B                   ;           C               U   A       C       9
    7




            (   l           =       Q           [           ?       W           <       a                   V               U                       X       ?   W                   @                   Q       U           P               U           A           C   l                           C           =           `                       U                                       C                   U               Q               C           =           >               X       =                       A                   k               Y                           =           Q                           C       l                   ;   C                           H   J       G       H   L
    D




    O       @       =       k   l           C       o




                                        ,               9                               '               m   P               U                       C       U       Q               C           =       >       =               U           a                       ;   V               ?       W               C                                   ?               W                       @                               [                   ?           @           ]                       ?                       A                           ,               B           B                   <               U                       *               ;   C       ;
    R




    Z       *       U       C       U       ^       C       ?           @       Q           9




    _                                       n           9                           ,               A           a                       X           ?   W           @                           C       U       Q               C           =       `               ?       A           X                       =                   A               ^                   <               W                       a               U               a                       C       l               =                       Q                           B                   ;               C           U               A           C               :               I       M   r




$   b   B           ;       C       U       A       C           :               ^       ?           @           @           U           ^           C       o                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               H   J       G       H   L




$   $                                                                               S           -                   9               6               '   &           .           )           &           (           G                                   /       V           q           U           ^           C                   =               ?                   A                       9                                       6                   ;           k       W               U                           :                           ^               ?       `               B                   ?       W               A               a       9




$   0                                                                                   (           1       )                       t               '       (   &               )               +       +           G                                   n       W           U           Q           C           =                   ?               A                   Q                               [                       U               @           U                           Q       ?               `                           U           C               =       `                   U               Q                       @               ;   =       Q   U       a




$   4       ;   V           ?   W           C               C       l           U               B               ;           C           U           A       C           :                   V       W           C                           '                   [           ;           Q                       A                   ?               C                                       =                   A                               ;                   B                   ?       Q                       =                   C           =               ?               A                           C           ?




$           U   P           ;       <   W           ;       C           U               C       l               U                   B               ;       C       U               A           C               =               A                       ;           A       X                   [               ;                   X                       9
    7




$       g       \               S       -               9               8   -           '           .       )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H   J       G       E   H
    D




$   O                                       n           9                           ,               A           a                       '               V           U               <           =       U   P                   U                       X           ?   W                           C           U                   Q               C                   =                   >                   =               U               a                       ;               C                               ;                               C               @               =           ;               <                       ?               A   ^       U




$           ;   V           ?   W           C               X           ?   W           @                   [               ?           @           ]               @               U           <       ;       C               U           a                       C       ?                       C       l                       U                                   a                   U                   C               U               ^           C           ?               @       Q                                           ;           Q                               =           C                           @           U               <   ;       C   U       Q
    R




$   Z       C       ?               C   l           U                   I       M       r                   B               ;           C           U       A       C                   Y               =       Q                           C       l               ;       C                       @           =                   k       l                           C                   o




$   _                                   ,               9                               '                       C           U           Q           C       =       >               =           U       a                       ;       V               ?       W           C                       ?       W                       @                               [                       ?                   @               ]                   9




0   b                                       n           9                               '           A                       C       l               U               <               =           C       =       k               ;           C           =           ?       A                       =           A           P                       ?                   <               P                       =               A               k                       C       l               U                                           I           M               r                       B                   ;           C           U               A   C       o                   H   J       G       E   H




0   $                                   ,               9                           &               ?               9




0   0                                       n           9                               (       l               U                       <           =       C       =               k           ;       C       =               ?           A                       a       =           a           A                   m           C                                   =                   A           P                       ?               <       P               U                       C               l                           U                           I               M           r                       B               ;               C   U       A   C




0   4       ;       C               ;       <       <       o




0                                       ,               9                           t               U           <           <               :               <       U               C               `           U                           Q           <           =       k       l               C           <                   X                                   @                   U           B                   l                   @           ;           Q               U               9                                               '                       [                   ;               Q                       C           l       U       @   U
    7




0           C       ?               C       U       Q       C           =       >       X                       ;       V               ?       W           C                       C       l           U                   [               ?           @           ]                   C       l               ;                   C                               [                       U                                   a               =           a               9                                           '                           [                   ;               Q                           A           ?           C                                               H   J       G       E   H
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       
                                        Case 5:12-cv-00630-LHK Document 1587-9 Filed 04/04/14 Page 12 of 12
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               !       "           #   u   i




    $       C       U       Q       C       =       >       X           =       A       k                   ;       V               ?   W           C                   C   l       U                   B               ;           C           U       A           C                               =               C               Q                   U                   <               >                       9




    0                                                                                   (   l               U                   B           ;       C           U       A       C       `                   ;           X                   l           ;       P                   U                       V                       U                   U                   A                               V                       @       ?       W                   k   l                       C                               W           B                                   a       W                   @           =       A       k




    4       C   l           ;       C               C       @           =       ;       <           :               V           W           C                   '           [       ;       Q                           A           ?           C                   Q           B                   U               ;               ]                   =                   A               k                                       C       ?                           =       C                       9




                                            n           9                               +       ?                       X           ?   W               m   P           U           A       U           P               U           @               V               U               >               ?               @               U                                       k               =               P                       U       A                           ;       A                                       ?           B               =               A               =               ?           A                   ;   V           ?   W       C
    7




        [       l           ;       C               ;       A                   ;       A       ;           <           X           {       U       @                   Q       U   @   P                   U           @                       =       Q                   :                       @               =               k               l                       C               o                                                                                                                                                                                                                                                                           H   J       G       E   H
    D




    O                                                                               S       -                   9               6           '   &               .   )       &       (           G                                   /       V           q           U               ^               C               =               ?                   A                       9                                           6               ;           k       W               U                       9




                                                                                        (       1       )                       t           '       (       &       )           +   +           G                               &               ?       C                           =               A                               C               l                       U                                   ^                   ?       A           C               U   p                       C                                   ?           >                               C       l                   U
    R




    Z   B           ;       C       U       A       C           :               A       ?           9




    _   g       \               S       -               9               8   -           '       .       )                   G




$   b                                       n           9                               '       A                       C       l           U                   ^       ?       A   C       U           p               C                       ?       >                           C           l                   U                               B                       ;               C                   U                   A       C                           X       ?           W                               m       P               U                               A               U       P               U       @                                   H   J       G       E   E




$   $       k       =   P           U       A               ;           A               ?   B               =           A           =       ?       A                   ;   V       ?   W                   C                   [           l           ;           C                               ;               A                                   ;                   ^               C                   =                   ?       A                   B               @                   ?                   ^               U           Q               Q               ?               @                       =       Q           :




$   0       @       =       k   l           C       o




$   4                                                                               S       -                   9               6           '   &               .   )       &       (           G                                   +           ;   `               U                               ?       V                       q                   U                   ^               C                   =                   ?       A               9




$                                                                                       (       1       )                       t           '       (       &       )           +   +           G                                   '               l               ;           P                   U                               A                   ?                   C                   9
    7




$       g       \               S       -               9               8   -           '       .       )                   G                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           H   J       G       E   E
    D




$   O                                       n           9                               +       ;       `               U                   >       ?           @               <   =       A               ]           U           a                   ;           ^               C               =               ?               A                           :                           @                   =                   k   l               C               o




$                                       ,               9                               '               l               ;       P           U                   A       ?       C           k               =       P               U           A                   ;               A                               ?       B                           =                   A               =                   ?                   A                   ?               A                           C               l                   ;           C                   9
    R




$   Z                                       n           9                               +       =           C           C           =       A       k               l           U   @       U                           C           ?           a       ;           X                   :                           a               ?                                       X               ?               W                           l               ;       P               U                                       ;               A           X                               =               A           C           U       A       C       =       ?   A




$   _       ?       >               @       U   P           =           U   [           =       A           k                       C   l           U                   I       M   r                   B               ;           C           U       A           C                               =               A                                   a                   U               C                   ;                   =       <           o




0   b                                   ,               9                           &           ?               9                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       H   J       G       E   E




0   $                                       n           9                               (   l               U                       C   l           @           U       U           A   W               `           V               U           @                   Q               =               k               A               Q                           :                           a                   ;                   Q   l                               >       ?           W                           @                           A       W                   `           V                   U           @




0   0       Q       =       k       A       Q               C       l           ;       C               [               U                   Q       ;       [                   =   A                       C       l               U               P               =               a               U               ?                       :                               a               ?                                       X       ?       W                       l                       ;               P                   U                           C           l                   ;           C                   =       A




0   4   `           =       A       a       o




0                                       ,               9                           \           U           Q               9
    7




0                                           n           9                               '       Q                       C       l           ;       C                   ;       A           U           p               ;       `           B           <           U                               ?               >                                   ^                   ?               A                   C                   U   p               C                       >                   @                   U               U                           k               @               ;       `           `           ;       @       o                   H   J       G       E   F
    D




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   
